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 IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND

MARYLAND SHALL ISSUE, INC., et al.,                                           *
                                                                              *
            Plaintiffs                                                        *
                                                                              *
            v.                                                                *           Civil No. 8:21-cv-10736-TDC
                                                                              *
MONTGOMERY COUNTY, MARYLAND                                                   *
                                                                              *
            Defendant                                                         *

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